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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

MASTER LOCK COMPANY LLC                         :
                                                :
       Plaintiff,                               :   CIVIL NO.: 3:13-CV-01658
                                                :
v.                                              :   JUDGE PEDRO A. DELGADO-
                                                :   HERNÁNDEZ
TOLEDO & CO., INC.                              :
                                                :
       Defendant.                               :

                      STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to the terms of a confidential Settlement Agreement entered into by the

parties, Plaintiff Master Lock Company LLC (“Master Lock”) and Defendant Toledo & Co., Inc.

(“Toledo”) hereby stipulate that all claims, defenses, counterclaims and cross-claims,

asserted or unasserted, as between Master Lock and Toledo in the above action be dismissed

with prejudice, without costs or disbursements, and that the Court shall retain jurisdiction

of this case and the Settlement Agreement and any disputes related to the enforcement or

interpretation of the Settlement Agreement. The Settlement Agreement is incorporated by

reference in full in this Stipulation. The parties further stipulate that an order to that effect

may be entered without further notice or action.

       A proposed Order is included as Section II of this Stipulation.

       Respectfully submitted,

       This 25th day of March 2015.
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                                         II. ORDER

       Pursuant to the terms of a confidential Settlement Agreement between Master Lock

and Toledo, this case is hereby dismissed with prejudice. However, this Court shall retain

jurisdiction over the action and the Settlement Agreement, including without limitation, any

disputes related to the enforcement or interpretation of this Settlement Agreement. The

Settlement Agreement is incorporated by reference in full in this Order.

       IT IS SO ORDERED.

                                           Dated this _____ day of March 2015.

                                           ____________________________________________________
                                           The Honorable Pedro A. Delgado-Hernández
                                           United States District Judge
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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 25th, 2015 a copy of the foregoing Stipulation of Dismissal

was filed electronically with the Court and served by electronic means on all counsel having made

an appearance in the matter.


                                                    /s/ Tomás A. Román Santos
                                                    TOMÁS A. ROMÁN-SANTOS
                                                    USDC-PR 219806
